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         IN THE UNITED STATES BANKRUPTCY COURT FOR MARYLAND
                              SOUTHERN DISTRICT

       In re                                  *

ANTHONY HARRIS                                *

      Debtor,                       *
_____________________________________

CASSANDRA BOSTON                              *           Chapter 13

       Petitioner                             *

               v.                             *           Case No. 17-10671

ANTHONY HARRIS                                *           ADV 17-00169

       Defendant.                             *



            CREDITOR’S MOTION FOR PARTIAL SUMMARY JUDGMENT
                               ON CLAIM #7

       Creditor and Adversary Plaintiff Cassandra Boston, through undersigned counsel, hereby

moves for summary judgment against Debtor and Adversary Defendant Anthony Harris, on the

issues of the validity, non-dischargeable status, and amount of the debt listed in this action as

Proof of Claim #7 (“Claim”). The grounds for this Motion are that Debtor cannot produce the

requisite evidence to sustain a material factual dispute as to either the amount of the Claim, its

validity, or its non-dischargeable status.

       This motion is filed in conjunction with a Motion for Extended Discovery, which would

allow for responses to three pending document requests and a deposition of the debtor, noted for

February 2, 2018, that will likely last no more than an hour or two. These discovery tools will

allow every opportunity for the Court to assess whether any material facts exist in this case that

could create a factual dispute concerning Claim #7 on the next court date of February 6, 2018.



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       Cassandra Boston requests the opportunity to resolve this issue at the February 6, 2018

hearing on confirmation of the Debtor’s proposed bankruptcy plan, which treats the Claim,

previously adjudicated to be a domestic support obligation, as if it were non-dischargeable by not

fully paying the balance of the claim during the tenure of the proposed plan, as required by 11

USC §1325.




                                                                 ___________________________	  
                                                                          Kerry J. Davidson, Esq.
                                                                 Law Office of Kerry J. Davidson
                                                           300 East Lombard Street, Suite 800-112
                                                                          Baltimore, MD 21202
                                                                          (240) 394-6330 (voice)
                                                                           (866) 920-1535 (efax)
                                                        kerry@kjdavidsonlaw.com / Bar No. 24736




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                                CERTIFICATE OF SERVICE



       I CERTIFY that on January 22, 2018, I have served a copy of the foregoing document, on

the following parties by ECF notice:

Timothy Branigan, Esq., Trustee
9891 Broken Land Parkway, Suite 301
Columbia, MD 21046
cmecf@chapter13maryland.com

Richard McGill, Esq.
The Law Offices of McGill and Woolery
5303 W. Court Drive, P.O. Box 358
Upper Marlboro, Maryland 20773
mcgillrm@aol.com




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           IN THE UNITED STATES BANKRUPTCY COURT FOR MARYLAND
                                SOUTHERN DISTRICT

         In re                               *

ANTHONY HARRIS                               *

      Debtor,                       *
_____________________________________

CASSANDRA BOSTON                             *           Chapter 13

         Petitioner                          *

                 v.                          *           Case No. 17-10671

ANTHONY HARRIS                               *           ADV 17-00169

         Defendant.                          *


       ORDER ENTERING NON-DISCHARGEABLE JUDGMENT AGAINST DEBTOR

         Creditor Cassandra Boston’s Motion for Partial Summary Judgment is GRANTED.

Judgment is entered against Debtor on Claim #7 in the amount of $105,580.31 as of August 31,

2017, and may be amended at Creditor’s request to reflect post-judgment interest since that date.

In addition, this Claim is held to be non-dischargeable, and any future proposed confirmation

plan must fully pay the complete balance of the claim during the plan term, pursuant to 11 USC

§1325.


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                           END OF ORDER




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Interested parties to receive order:

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9891 Broken Land Parkway, Suite 301
Columbia, MD 21046
cmecf@chapter13maryland.com

Richard McGill, Esq.
The Law Offices of McGill and Woolery
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